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                                                                      CLERK'S OFFICE: LJ,S, DIST. COURT
                                                                                 ATROANOKE    VA               .... ""
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                                   IN THE                                    APR 2 7 ·2017
                        UNITED STATES DISTRICT COURT
                                  FOR THE
                        WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION

 UNITED STATES OF AMERICA

 v.                                                     Case No.: 7:17-cr-       33-0\
                                                        Violations:
BOBBY NELSON COLLINS, JR.
                                                        21 U.S.C. § 841(a)(1)
                                                        18 u.s.c. § 922(g)(1)

                                       INDICTMENT

                                       COUNT ONE

        The Grand Jury charges that:

        1. On or about February 10,2017, in the Western District of Virginia, the defendani,

 BOBBY NELSON COLLINS, JR., knowingly and intentionally distributed a mixture and

 substance containing a detectable amount of heroin, a Schedule I controlled substance.

        2. All in violation ofTitle 21, United States Code, Sections 841(a)(1) and

.· 841(b)(l)(C).

                                       COUNT TWO

        The Grand Jury further charges that:

        1. On or about February 14,2017, in the Western District ofVirginia, the defendant,

 BOBBY NELSON COLLINS, JR., knowingly and intentionally distributed a mixture and

 substance containing a detectable amount of heroin, a Schedule I controlled substance, and

 did aid and abet another person during the commission of this offense.



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        2. All in violation of Title 21, United States Code, Sections 841(a)(l) and

 841(b)(l)(C), and Title 18, United States Code, Section 2.

                                      COUNT THREE

        The Grand Jury further charges that:

        · 1. On or about February 15,2017, in the Western District ofVirginia, the defendant,

 BOBBY NELSON COLLINS, JR., knowingly and intentionally distributed a mixture and

 substance containing a detectable amount of heroin, a Schedule I controlled substance.

        2. All in violation of Title 21, United States Code, Sections 841(a)(1) and

. 841(b)(1)(C).'

                                       COUNT FOUR

        The Grand Jury further charges that:

        1. On or about February 12, 2017, in the Western District of Virginia, the

 defendant, BOBBY NELSON COLLINS, JR., having been previously convicted of a

 crime punishable by imprisonment for a term exceeding one year, did knowingly possess

 a firearm, that being a Smith and Wesson, Model10-5, .38 caliber revolver, in and

 affecting interstate or foreign com1nerce.

        2. All in violation of Title 18, United States Code, Section 922(g)(1) and 924( e).

                                NOTICE OF FORFEITURE

         1. Upon conviction of one or more of the felony offenses alleged in this Indictment, ·

 the defendant shall forfeit to the United States:

            a. any property constituting, or derived from, any proceeds obtained,
               directly or indirectly, as a result of said offenses, pursuant to 21
               U.S.C. § 853(a)(l).


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          b. any property used, or intended to be used, in any manner or part, to
             commit, or to facilitate the commission of said offenses, pursuant to
             21 U.S.C. § 853(a)(2).

          c. any firearm used or intended to be used to facilitate the
             transportation, sale, receipt, possession, or concealment of controlled ·
             substances and/or raw materials, as described in 21 U.S.C. §
             881(a)(l) and (2), and any proceeds traceable to such property,
             pursuant to 21 U.S.C. § 881(a)(ll) and 28 U.S.C. § 2461(c).

          d. any firearms and ammunition involved or used in the commission of
             said offenses, or possessed in violation thereof, pursuant to 18
             U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

      2. The property to be forfeited to the United States includes but is not limited to the

following property:

          a.         Money Judgment

                     An undetermined sum of U.S~ Currency andall interest and
                     proceeds traceable thereto, in that such sum in aggregate was
                     obtained directly or indirectly as a result of said offenses or is
                     traceable to such property. .

          b.         Firearms/Ammunition

                     L Smith and Wesson, Modell0-5, .38 caliber revolver, SN: C935570
                     2. Miscellaneous ammunition

      3. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

          a.      cannot be located upon the exercise. of due diligence;
          b.      has been transferred or sold to, or deposited with a third person;
          c ...   has been placed beyond the jurisdiction of the Court;
          d.      has been substantially diminished in value; or
          e.      has been commingled with other property which cannot be
                  subdivided without difficulty;




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 it is the intent of the United States to seek forfeiture of any other property of the

 defendants up to the value of the above. . described forfeitable property, _pursuant to 21

U.S.C. § 853(p ).

        A True Bill this   4   day of April, 2017.



                                                           s/Grand Jury F oreperson
                                                           FOREPERSON




        ACTING UNITED STATES ATTORNEY




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